     Case 1:08-cr-00168-PB   Document 16   Filed 01/22/09   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 08-cr-168-PB

Paul Ryder, et al.



                               O R D E R

     Defendant Paul Ryder, through counsel, has moved to continue

the trial scheduled for March 3, 2009, citing counsel’s

scheduling conflict with the current trial date.            The government

does not object to a continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from March 3, 2009 to June 2, 2009.            In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
      Case 1:08-cr-00168-PB   Document 16   Filed 01/22/09   Page 2 of 2




      The February 25, 2009 final pretrial conference is continued

to May 21, 2009 at 3:30 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

January 21, 2009

cc:   Paul Garrity, Esq.
      Richard Monteith, Jr., Esq.
      Donald Feith, Esq.
      United States Probation
      United States Marshal




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